21-11411-scc          Doc 12    Filed 09/03/21 Entered 09/03/21 10:26:03         Main Document
                                             Pg 1 of 2



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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      )
In re:                                                )      Chapter 15
                                                      )
MICHAEL DAVID GREENFIELD                              )      Case No. 21-11411 (SCC)
a.k.a. MICHAEL BEN-ARI,                               )
                                                      )
         Debtor in a Foreign Proceeding.              )
                                                      )

                 MOTION FOR ADMISSION TO PRACTICE, PRO HAC VICE
                                (Tracey M. Ohm)

         I, Tracey M. Ohm, request admission, pro hac vice, before the Honorable Shelley C.

Chapman, to represent Oath Inc. (“Oath”), a party in interest in the above-referenced proceeding.

         I certify that I am a member in good standing of the bars in the District of Columbia and

the States of Maryland, Missouri and Virginia; the U.S. District Courts for the District of

Columbia, the District of Maryland, and Eastern District of Virginia; the United States

Bankruptcy Court for the Eastern District of Virginia; United States Bankruptcy Court for the

Western District of Virginia; and the Supreme Court of the United States.

         I have submitted the filing fee of $200.00 with this motion for pro hac vice admission.

Dated: September 3, 2021                              /s/ Tracey M. Ohm
                                                      Darrell W. Clark, Esq.
                                                      Tracey M. Ohm, Esq.



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21-11411-scc          Doc 12    Filed 09/03/21 Entered 09/03/21 10:26:03    Main Document
                                             Pg 2 of 2



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